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                                     #:184


  1
                             UNITED STATES DISTRICT COURT
  2
                           CENTRAL DISTRICT OF CALIFORNIA
  3
                                      WESTERN DIVISION
  4
      DAWAUN LUCAS, individually and                Case No. 2:20-cv-06059-VAP-E
  5   on behalf of all others similarly situated,
  6                                                 [PROPOSED] ORDER GRANTING
                                    Plaintiff,      MOTION TO DISMISS PLAINTIFF
  7                                                 HOOPER’S AND TASIN’S CLAIMS
             v.
  8                                                 UNDER RULE 12(B)(3) AND
      SMILEDIRECTCLUB, INC. and                     MOTION TO TRANSFER ENTIRE
  9   SMILEDIRECTCLUB, LLC,                         ACTION UNDER SECTIONS
 10                             Defendants.         1406(A) AND 1404(A)
 11                                                 Hearing Date: October 19, 2020
 12                                                 Time: 2:00 pm
 13                                                 Location: Courtroom No. 8A,
 14                                                 First Street Courthouse
 15
 16
 17         The motion of Defendants SmileDirectClub, Inc. and SmileDirectClub, LLC

 18 to dismiss Plaintiff Hooper’s and Tasin’s claims under Rule 12(b)(3) and transfer
 19 the entire action pursuant to 28 U.S.C. §§ 1406(a) and 1404(a) to the Middle District
 20 of Tennessee came before this Court for regular hearing on October 19, 2020, in the
 21 Courtroom of the Honorable Virginia A. Phillips of the United States District Court
 22 for the Central District of California, Courtroom 8A located at 350 West 1st Street,
 23 Los Angeles, California 90012 at 2:00 p.m.
 24         Having considered all papers submitted by the Parties, the pleadings, the

 25 evidence submitted and oral arguments presented, and good cause appearing, IT IS
 26 ORDERED THAT Defendants’ motion is GRANTED. Plaintiffs Hooper’s and
 27 Tasin’s claims are improperly venued and their claims are severed and transferred
 28 to the Middle District of Tennessee, Nashville Division under Section 1406(a).


                                        [PROPOSED] ORDER
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  1        Furthermore, Plaintiffs Lucas’s and Smith’s claims are transferred to the
  2 Middle District of Tennessee, Nashville Division under Section 1404(a).
  3
  4 DATED:______________                        By: _______________________
  5                                                 VIRGINIA A. PHILLIPS

  6                                                  U.S. DISTRICT JUDGE

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                                     [PROPOSED] ORDER
